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                          IN THE UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                    GAINESVILLE DIVISION

IN RE:                                                :    CHAPTER 7
                                                      :
GABRIEL ALFONSO BERNAL,                               :    CASE NO. 19-20895-JRS
                                                      :
         Debtor.                                      :
                                                      :
                                                      :
FREEDOM MORTGAGE CORPORATION,                         :    CONTESTED MATTER
                                                      :
         Movant.                                      :
                                                      :
vs.                                                   :
GABRIEL ALFONSO BERNAL,
                                                      :
ALBERT F. NASUTI, Trustee
                                                      :
         Respondents.                                 :
                                                      :

              NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY


         Movant has filed documents with the court to obtain relief from the automatic stay.

         YOUR RIGHTS MAY BE AFFECTED. You should read these documents carefully and
         discuss them with your attorney, if you have one in this bankruptcy case. If you do not have
         an attorney, you may wish to consult one.

         If you do not want the court to grant relief from the automatic stay or if you want the court to
         consider your views on the motion, then you or your attorney shall attend the hearing scheduled
         to be held on

         July 11, 2019 at 1:00 pm at the United States Bankruptcy Court, 121 Spring Street SE,
         Courtroom 103, Gainesville, Georgia 30501.

         If you or your attorney does not take these steps, the court may decide that you do not oppose the
         relief sought in the motion and may enter an order granting relief.

         You may also file a written response to the pleading with the Clerk at the address stated below,
         but you are not required to do so. If you file a written response, you must attach a certificate
         stating when, how and on whom (including addresses) you served the response. Send your
         response so that it is received by the Clerk at least two business days before the hearing.

         If a hearing on the motion for relief from the automatic stay cannot be held within thirty (30)
         days, Movant waives the requirement for holding a preliminary hearing within thirty days of
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     filing the motion and agrees to a hearing on the earliest possible date. Movant consents to the
     automatic stay remaining in effect until the Court orders otherwise.

     The address of the Clerk's Office is: Clerk, 121 Spring Street South East, Suite 120, Gainesville,
     Georgia 30501. You must also send a copy of your response to the undersigned at the address
     stated below.


     Dated this:   5/31/2019



                                                /s/A. Michelle Hart Ippoliti
                                                A. Michelle Hart Ippoliti, GA BAR NO.
                                                334291
                                                Attorney for Movant
                                                McCalla Raymer Leibert Pierce, LLC
                                                1544 Old Alabama Road
                                                Roswell, Georgia 30076
                                                678-281-6537
                                                Michelle.HartIppoliti@mccalla.com
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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                  GAINESVILLE DIVISION

IN RE:                                             ) CHAPTER 7
                                                   )
GABRIEL ALFONSO BERNAL,                            ) CASE NO. 19-20895-JRS
                                                   )
         Debtor.                                   )
                                                   )
                                                   )
FREEDOM MORTGAGE                                   ) CONTESTED MATTER
CORPORATION,                                       )
                                                   )
         Movant.                                   )
                                                   )
vs.                                                )
GABRIEL ALFONSO BERNAL,                            )
ALBERT F. NASUTI, Trustee                          )

         Respondents.


                   MOTION FOR RELIEF FROM THE AUTOMATIC STAY

         COMES NOW Movant and shows this Court the following:

                                                  1.

         This is a Motion under Section 362(d) of the Bankruptcy Code for relief from the

automatic stay for all purposes allowed by law and the contract between the parties, including,

but not limited to, the right to foreclose on certain real property.

                                                  2.

         Movant is the servicer of a loan secured by certain real property in which Debtor claims

an interest. A copy of the Security Deed is attached hereto and made a part hereof. Said real

property is security for a promissory note, and is commonly known as 355 Lokeys Ridge Rd,

Bethlehem, Georgia 30620 (the “Property”).
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                                                 3.

       Debtor's Statement of Intention provides for the surrender of the real property.          In

addition, Debtor is in default of the monthly installments pursuant to the terms of the Note. As

of May 22, 2019, Debtor is delinquent for five (5) payment of $1,403.25 each and three (3)

payments of $1,430.73 each, pursuant to the terms of the Note.

                                                 4.

       As of May 22, 2019, the unpaid principal balance is $188,864.09, and interest is due

thereon in accordance with the Note, resulting in an estimated payoff of $201,696.25.

                                                 5.

       Because of Debtor's default and clear inability to make all required payments, Movant is

not adequately protected and shows that there is cause for relief from the automatic stay.

                                                 6.

       Because the Security Deed so provides, Movant is entitled to its attorney's fees.

                                                 7.

       Movant requests it be permitted to contact the Debtor via telephone or written

correspondence regarding potential loss mitigation options pursuant to applicable non-

bankruptcy law, including loan modifications, deeds in lieu of foreclosure, short sales and/or any

other potential loan workouts or loss mitigation agreements.

       WHEREFORE, Movant prays (1) for an Order modifying the automatic stay, authorizing

Movant, its successors and assigns, to proceed with the exercise of its private power of sale and

to foreclose under its Security Deed and appropriate state statutes; (2) for an award of reasonable

attorney’s fees; (3) that Movant, at its option, be permitted to contact the Debtor via telephone or

written correspondence regarding potential loss mitigation options pursuant to applicable non-
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bankruptcy law, including loan modifications, deeds in lieu of foreclosure, short sales and/or any

other potential loan workouts or loss mitigation agreements; (4) for waiver of Bankruptcy Rule

4001 (a)(3); and (5) for such other and further relief as is just and equitable.


                                               /s/A. Michelle Hart Ippoliti
                                               A. Michelle Hart Ippoliti, Georgia BAR NO.
                                               334291
                                               Attorney for Movant
                                               McCalla Raymer Leibert Pierce, LLC
                                               1544 Old Alabama Road
                                               Roswell, Georgia 30076
                                               678-281-6537
                                               770-643-4220
                                               Michelle.HartIppoliti@mccalla.com
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                                            CHAPTER 7

                                  CERTIFICATE OF SERVICE

       I, A. Michelle Hart Ippoliti, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama
Road, Roswell, Georgia 30076-2102, certify:

        That on the date below, I served a copy of the within NOTICE OF ASSIGNMENT OF
HEARING, together with the MOTION FOR RELIEF FROM THE AUTOMATIC STAY filed in
this bankruptcy matter on the following parties at the addresses shown, by regular United States
Mail, postage prepaid, unless another manner of service is expressly indicated:

Gabriel Alfonso Bernal
355 Lokeys Ridge Road
Bethlehem, GA 30620

Karen King                                  (served via ECF notification)
King & King Law LLC
215 Pryor Street, Southwest
Atlanta, GA 30303

Albert F. Nasuti, Trustee                   (served via ECF notification)
40 Technology Parkway South
Suite 300
Peachtree Corners, GA 30092


I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.

Executed on:     5/31/2019        By:   /s/A. Michelle Hart Ippoliti
                     (date)             A. Michelle Hart Ippoliti Georgia BAR NO. 334291
                                        Attorney for Movant
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